                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     IN RE:                                        )      Chapter 13
     ROBERT BRUCE                                  )      Docket No. 20-12971-MDC
                            Debtor                 )
                                                   )      MOTION FOR STAY RELIEF
                                                   )      103 W. Albemarle Ave., Lansdowne, PA
     SANTANDER BANK, N.A.                          )
                   Movant                          )
          vs.                                      )
                                                   )
     ROBERT BRUCE                                  )
                            Respondent             )

                          STIPULATION FOR RELIEF FROM THE
                                  AUTOMATIC STAY


       SANTANDER BANK, N.A., ("Santander"), by and through its attorney, Thomas A.
Capehart, Esquire of Gross McGinley LLP, and Debtor, Robert Bruce, (“Debtor”), along with
his counsel, Christopher Bokas, Esquire, agree and stipulate to Relief from the Automatic Stay
pursuant to 11 U.S.C. 362(d), and in support thereof, alleges as follows:
      1.       On or about June 10, 2020, Debtor filed a Petition for Relief under Chapter 13 of
the United States Bankruptcy Code.
      2.       By way of brief background, on or about August 12, 2008, the Debtor obtained a

home equity line of credit from Santander Bank with a credit limit of $40,000.00 as evidenced by a

Home Equity Line of Credit Agreement (“Note”) secured by a mortgage from Debtor and EDNA

RIGBY a non-bankrupt Co-Debtor (“Co-Debtor”), recorded August 22, 2008 (“Mortgage”) upon

the Debtor and Co-Debtor’s principal residence known as 103 W. Albemarle Avenue, Lansdowne,

Delaware County, Pennsylvania (“Premises”).

      3.      Santander Bank is a secured creditor in this bankruptcy with a mortgage lien
upon the Premises.
      4.      The Debtor has not made monthly post-petition payments to Santander as required
under the Note and the proposed Chapter 13 plan and is presently due for the months of August,
2020 through January, 2021 totaling $648.00, exclusive of attorneys fees and costs of $790.50.

       5.      The Debtor has agreed to cure the existing post-petition delinquency ($1,438.50)
(“Arrearage”) on or before April 1, 2021, by sending payments directly to Santander Bank,
Bankruptcy Department at 450 Penn Street, 10-421-MC3, Reading, PA 19602, as follows:

               A.     Beginning February 1, 2021, and then on or before the 1 st day of the
following two (2) months through, and including April 1, 2021 (“Cure Period”), the Debtor shall
make monthly payments directly to Santander Bank in the amount of $479.50, representing
1/3 of the Arrearage in addition to the regular monthly mortgage payment which varies from
month to month (The February 1, 2021 payment amount is $109.80). Beginning on or about the
15th day of January, 2021 and continuing on or about the 15th day of each month during the Cure
Period, Santander Bank shall mail directly to the Debtor, written monthly notices/statements of the
regular payments due each month during the Cure Period and each month thereafter. Debtor
acknowledges and stipulates that such notices/statements will not be deemed a violation of the
Automatic Stay.

               B.     Beginning May 1, 2021, and continuing on the 1st day of every month
thereafter until the entire debt owed to Santander is paid in full, Debtor shall make regular monthly
mortgage payments directly to Santander as required under the terms of the Note. Beginning on the
15th day of April, 2021 and on or about the 15th day of each month thereafter until the debt is paid
in full, Santander Bank shall mail directly to the Debtor, written monthly notices/statements of the
regular payments      due    each month. Debtor acknowledges           and   stipulates   that such
notices/statements will not be deemed a violation of the Automatic Stay.
        6.     The Parties hereto stipulate and agree that the Automatic Stay provisions of Section
362 shall be conditionally granted to Santander as of the date this Stipulation is filed with the
Court, under the terms set forth in this Stipulation.
       7.      If the Debtor fails to make any of the payments set forth in this Stipulation,
Santander agrees that it will provide the Debtor and his counsel with ten (10) days written
notice of such delinquency. Debtor shall have ten (10) days from the date of such notice to cure
the delinquency (“Notice Period”).
Thomas A. Capehart
/s/ LeeAne O. Huggins   February 1, 2021
